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531) 01/30/2016 16:36:49 UTC
532) 01/30/2016 18:38:34 UTC
533) 01/30/2016 19:44:30 UTC
534) 01/31/2016 16:35:02 UTC
535) 01/31/2016 18:13:09 UTC
536) 01/31/2016 19:42:33 UTC
537) 01/31/2016 23:04:51 UTC
538) 02/01/2016 00:45:28 UTC
539) 02/03/2016 14:34:20 UTC
540) 02/03/2016 18:00:36 UTC
541) 02/04/2016 00:27:43 UTC
542) 02/04/2016 01 :50:29 UTC
543) 02/04/2016 13:25:33 UTC
544) 02/04/2016 18:09:45 UTC
545) 02/04/2016 20:34:19 UTC
546) 02/05/2016 00:34:20 UTC
547) 02/05/2016 00:34:20 UTC
548) 02/05/2016 14:39:05 UTC
549) 02/05/2016 16:37:41 UTC
550) 02/05/2016 22:52:50 UTC
551) 02/06/2016 01:25:08 UTC
552) 02/06/2016 13:50:09 UTC
553) 02/06/2016 15:55:08 UTC
554) 02/06/2016 17:56:02 UTC
555) 02/08/2016 13:30:45 UTC
556) 02/08/2016 16:22:08 UTC
557) 02/08/2016 21:05:12 UTC
558) 02/09/2016 00:32:58 UTC
559) 02/09/2016 13:47:30 UTC
560) 02/09/2016 16:36:02 UTC
561) 02/09/2016 20:55:15 UTC
562) 02/10/2016 00:44:31 UTC
563) 02/10/2016 14:38:08 UTC
564) 02/10/2016 18:05:25 UTC
565) 02/10/2016 23:16:36 UTC
566) 02/11/2016 01:28:58 UTC
567) 02/11/2016 14:43:42 UTC
568) 02/11/2016 16:35:13 UTC
569) 02/11/2016 20:34:29 UTC
570) 02/12/2016 01 :26:16 UTC
571) 02/12/2016 14:36:43 UTC
572) 02/12/2016 16:33:35 UTC
573) 02/12/2016 21 :36:08 UTC
574) 02/13/2016 01 :39:48 UTC
575) 02/13/2016 13:17:04 UTC
576) 02/13/2016 14:24:57 UTC
577) 02/1'3/2016 15:31:00 UTC

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578) 02/13/2016 17:35:58 UTC
579) 02/15/2016 13:35:58 UTC
580) 02/16/2016 00:01:32 UTC
581) 02/16/2016 13:07:25 UTC
582) 02/16/2016 15:50:36 UTC
583) 02/16/2016 20:17:24 UTC
584) 02/16/2016 23:30:19 UTC
585) 02/17/2016 13:32:44 UTC
586) 02/17/2016 16:19:16 UTC
587) 02/17/2016 21:05:12 UTC
588) 02/17/2016 23:05:32 UTC
589) 02/18/2016 13:43:09 UTC
590) 02/18/2016 16:25:35 UTC
591) 02/18/2016 20:23:16 UTC
592) 02/19/2016 01:08:57 UTC
593) 02/19/2016 13:23:08 UTC
594) 02/19/2016 16:32:29 UTC
595) 02/19/2016 20:38:28 UTC
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597) 02/20/2016 13:56:17 UTC
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600) 02/20/2016 18:20:32 UTC
601) 02/22/2016 13:07:32 UTC
602) 02/22/2016 15:54:32 UTC
603) 02/22/2016 20:26:17 UTC
604) 02/22/2016 23:17:49 UTC
605) 02/23/2016 13:35:06 UTC
606) 02/23/2016 16:31:27 UTC
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608) 02/24/2016 00:32: 15 UTC
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611) 02/24/2016 20:42:37 UTC
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615) 02/25/2016 20:27:44 UTC
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617) 02/26/2016 14:42:27 UTC
618) 02/26/2016 16:42:06 UTC
619) 02/26/2016 23:04:10 UTC
620) 02/27/2016 01 :27:05 UTC
621) 02/27/2016 01 :27:05 UTC
622) 02/27/2016 13:40:40 UTC
623) 02/27/2016 14:49:52 UTC
624) 02/27/2016 16:42:42 UTC

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625) 02/27/2016 17:59:33 UTC
626) 02/28/2016 14:38:52 UTC
627) 02/28/2016 15:49:59 UTC
628) 02/28/2016 17:14:18 UTC
629) 02/29/2016 13:13:07 UTC
630) 02/29/2016 16:45:12 UTC
631) 02/29/2016 23:32:41 UTC
632) 03/01/2016 01 :03:25 UTC
633) 03/01/2016 13:19:12 UTC
634) 03/01/2016 15:57:24 UTC
635) 03/01/2016 20:24:20 UTC
636) 03/02/2016 00:42:48 UTC
637) 03/02/2016 13:04:38 UTC
63 8) 03/02/2016 15:10:09 UTC
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640) 03/02/2016 22:57:25 UTC
641) 03/03/2016 13:12:03 UTC
642) 03/03/2016 16:19:11 UTC
643) 03/03/2016 22:49:02 UTC
644) 03/04/2016 01 :02:11 UTC
645) 03/04/2016 14:24:41 UTC
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647) 03/04/2016 23:04:37 UTC
648) 03/05/2016 01 :31:45 UTC
649) 03/05/2016 13:50:17 UTC
650) 03/05/2016 14:54:21 UTC
651) 03/05/2016 16:42:55 UTC
652) 03/05/2016 18:57:41 UTC
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656) 03/08/2016 01 :32:57 UTC
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658) 03/08/2016 16:33:49 UTC
659) 03/08/2016 23:36:23 UTC
660) 03/09/2016 01 :30:34 UTC
661) 03/09/2016 14:41:15 UTC
662) 03/09/2016 16:36:02 UTC
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666) 03/10/2016 16:44:46 UTC
667) 03/10/2016 23:48:30 UTC
668) 03/11/2016 01:34:02 UTC
669) 03/11/2016 14:10:32 UTC
670) 03/11/2016 16:28:24 UTC
671) 03/11/2016 23:05:06 UTC

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672) 03/12/2016 01 :23:55 UTC
673) 03/12/2016 13:49:52 UTC
674) 03/12/2016 15:25:33 UTC
675) 03/12/2016 17:14:19 UTC
676) 03/12/2016 18:40:15 UTC
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679) 03/13/2016 16:40:38 UTC
680) 03/14/2016 13:34:36 UTC
681) 03/14/2016 15:30:03 UTC
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683) 03/15/2016 00:32:03 UTC
684) 03/15/2016 21:28:59 UTC
685) 03/16/2016 00:13:58 UTC
686) 03/16/2016 13:31:51 UTC
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688) 03/16/2016 22:00:51 UTC
689) 03/16/2016 22:00:54 UTC
690) 03/17/2016 00:23:01 UTC
691) 03/17/2016 13:29:45 UTC
692) 03/17/2016 15:37:46 UTC
693) 03/17/2016 21:45:36 UTC
694) 03/18/2016 00:10:14 UTC
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696) 03/18/2016 15:45:11 UTC
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699) 03/19/2016 12:40:07 UTC
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718) 03/24/2016 21:10:59 UTC

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719) 03/25/2016 13 :23 :20 UTC
720) 03/25/2016 15:36:57 UTC
721) 03/25/2016 19:29:52 UTC
722) 03/26/2016 00:30:02 UTC
723) 03/26/2016 12:44:06 UTC
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734) 03/30/2016 00:24:12 UTC
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736) 03/30/2016 14:48:01 UTC
737) 03/30/2016 20:20:15 UTC
738) 03/31/2016 00:19:23 UTC
739) 03/31/2016 13 :38:23 UTC
740) 03/31/2016 15:39:29 UTC
741) 03/31/2016 20:35:24 UTC
742) 04/01/2016 00:49:32 UTC
743) 04/01/2016 12:37:43 UTC
744) 04/01/2016 15:08:09 UTC
745) 04/01/2016 20:14:00 UTC
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763) 04/07/2016 13:51:50 UTC
764) 04/07/2016 16:33 :35 UTC
765) 04/07/2016 22:43:47 UTC

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766) 04/08/2016 00:44:03 UTC
767) 04/08/2016 13:59:48 UTC
768) 04/08/2016 17:01:03 UTC
769) 04/08/2016 23:23: 16 UTC
770) 04/09/2016 12:48:50 UTC
771) 04/09/2016 13:58:51 UTC
772) 04/09/2016 16:01:27 UTC
773) 04/11/2016 13:36:31 UTC
774) 04/11/2016 15:39:11 UTC
775) 04/11/2016 20:35:19 UTC
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777) 04/12/2016 00;27:27 UTC
778) 04/12/2016 13:45:21 UTC
779) 04/12/2016 15:40:59 UTC
780) 04/12/2016 22:50:33 UTC
781) 04/13/2016 00:20:46 UTC
782) 04/13/2016 13:41:07 UTC
783) 04/13/2016 15:37:04 UTC
784) 04/13/2016 15:37:05 UTC
785) 04/14/2016 00:03:21 UTC
7*8*6*) 04/14/2016 13:35:51 UTC
787) 04/14/2016 15:40:06 UTC
788) 04/14/2016 22:30:12 UTC
789) 04/15/2016 00:33:03 UTC
790) 04/15/2016 13:49:16 UTC
791) 04/15/2016 15:44:18 UTC
792) 04/15/2016 22:24:25 UTC
793) 04/16/2016 00:25:18 UTC
794) 04/16/2016 12:41:37 UTC
795) 04/16/2016 13:53:25 UTC
796) 04/16/2016 15:12:46 UTC
797) 04/16/2016 16:47:45 UTC
798) 04/18/2016 14:01:59 UTC
799) 04/18/2016 15 :42:31 UTC
800) 04/18/2016 22:50:14 UTC
801) 04/19/2016 00:38:35 UTC
802) 04/19/2016 12:46:59 UTC
803) 04/19/2016 15:20:29 UTC
804) 04/19/2016 19:18:55 UTC
805) 04/19/2016 23:58:32 UTC
806) 04/20/2016 13:34:08 UTC
807) 04/20/2016 15:36:49 UTC
808) 04/20/2016 20:41:34 UTC
809) 04/20/2016 23:44:24 UTC
810) 04/21/2016 13:48:09 UTC
811) 04/21/2016 15:39:28 UTC
812) 04/21/2016 21:32:22 UTC

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813) 04/22/2016 00:27:00 UTC
814) 04/22/2016 00:27:00 UTC
815) 04/22/2016 13:42:22 UTC
816) 04/22/2016 15:39:14 UTC
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819) 04/23/2016 00:33:01 UTC
820) 04/23/2016 12:59:28 UTC
821) 04/23/2016 12:59:29 UTC
822) 04/23/2016 14:57:25 UTC
823) 04/23/2016 17:02:25 UTC
824) 04/24/2016 13:08:44 UTC
825) 04/24/2016 14:20:25 UTC
826) 04/24/2016 15:35:28 UTC
827) 04/24/2016 16:46:45 UTC
828) 04/25/2016 13:30:44 UTC
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830) 04/25/2016 20:37:04 UTC
831) 04/26/2016 00:24:21 UTC
832) 04/26/2016 12:12:58 UTC
833) 04/26/2016 14:24:46 UTC
834) 04/26/2016 23:38:02 UTC
835) 04/27/2016 13:12:13 UTC
836) 04/27/2016 15:39:39 UTC
837) 04/27/2016 20:20:43 UTC
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839) 04/28/2016 00:24:04 UTC
840) 04/28/2016 13:57:46 UTC
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842) 04/28/2016 21:48:12 UTC
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844) 04/29/2016 13:12:01 UTC
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848) 04/30/2016 12:43:42 UTC
849) 04/30/2016 13:56:54 UTC
850) 04/30/2016 15:48:39 UTC
851) 04/30/2016 17:45:32 UTC
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853) 05/02/2016 15:15:24 UTC
854) 05/02/2016 20:07:31 UTC
855) 05/03/2016 00:37:17 UTC
856) 05/03/2016 13:29:18 UTC
857) 05/03/2016 15:42:48 UTC
858) 05/03/2016 22:23:05 UTC
859) 05/04/2016 00:29:18 UTC

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860) 05/04/2016 13:25:19 UTC
861) 05/04/2016 15:32:12 UTC
862) 05/04/2016 21 :51 :22 UTC
863) 05/05/2016 00:36:07 UTC
864) 05/05/2016 13:40:59 UTC
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866) 05/05/2016 22:30:27 UTC
867) 05/06/2016 00:02:13 UTC
868) 05/06/2016 14:02:34 UTC ‘
869) 05/06/2016 16:32:15 UTC
870) 05/06/2016 23:21:54 UTC
871) 05/07/2016 00:48:04 UTC
872) 05/07/2016 12:55:11 UTC
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874) 05/07/2016 16:11:31 UTC
875) 05/09/2016 13:34:04 UTC
876) 05/09/2016 15:39:08 UTC
877) 05/09/2016 22:11:49 UTC
878) 05/10/2016 00:39:46 UTC
879) 05/10/2016 13:44:57 UTC
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881) 05/10/2016 21 :22:48 UTC
882) 05/11/2016 00:33:15 UTC
883) 05/11/2016 12:28:14 UTC
884) 05/11/2016 15:05:30 UTC
885) 05/11/2016 20:40:19 UTC
886) 05/12/2016 00:43:09 UTC
887) 05/12/2016 13:32:21 UTC
888) 05/12/2016 15:33:57 UTC
889) 05/12/2016 22:23:44 UTC
890) 05/13/2016 00:39:21 UTC
891) 05/13/2016 13:06:44 UTC
892) 05/13/2016 15:26:11 UTC
893) 05/13/2016 23:25:35 UTC
894) 05/14/2016 12;19:30 UTC
895) 05/14/2016 13:43:14 UTC
896) 05/14/2016 15:17:02 UTC
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898) 05/16/2016 19:55:24 UTC
899) 05/17/2016 00:15:42 UTC
900) 05/17/2016 13:38:17 UTC
901) 05/17/2016 15:43:20 UTC
902) 05/17/2016 22:46:25 UTC
903) 05/18/2016 00:40:40 UTC
904) 05/18/2016 13:48:30 UTC
905) 05/18/2016 15:41:05 UTC
906) 05/18/2016 22:46:25 UTC

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907) 05/19/2016 00:35:59 UTC
908) 05/19/2016 13:06:19 UTC
909) 05/19/2016 15:21:11 UTC
910) 05/20/2016 00:30:41 UTC
911) 05/20/2016 13:50:03 UTC
912) 05/20/2016 16:11:37 UTC
913) 05/20/2016 23:27:41 UTC
914) 05/21/2016 00:51:23 UTC
915) 05/21/2016 12:57:31 UTC
916) 05/21/2016 14:51:32 UTC
917) 05/21/2016 16:53:11 UTC
918) 05/23/2016 13:52:24 UTC
919) 05/23/2016 15:35:04 UTC
920) 05/23/2016 21 :18:22 UTC
921) 05/24/2016 00:19;09 UTC
922) 05/24/2016 12:48:25 UTC
923) 05/24/2016 15:16:41 UTC
924) 05/24/2016 19:27:13 UTC
925) 05/24/2016 23:32:03 UTC
926) 05/25/2016 13:32:03 UTC
927) 05/25/2016 15:34:02 UTC
928) 05/25/2016 20:41:17 UTC
929) 05/26/2016 00:29:32 UTC
930) ' 05/26/2016 13:39:11 UTC
931) 05/26/2016 15:40:24 UTC
932) 05/26/2016 22:46:46 UTC
933) 05/27/2016 00:28:45 UTC
934) 05/27/2016 13:36:17 UTC
935) 05/27/2016 15:43:50 UTC
936) `05/27/2016 22:35:57 UTC
937) 05/28/2016 00:14:07 UTC
938) 05/28/2016 12:27:58 UTC
939) 05/28/2016 13:44:40 UTC
940) 05/28/2016 14:51:46 UTC
941) 05/28/2016 16:00:39 UTC
942) 05/29/2016 13 :01 :27 UTC
943) 05/29/2016 14:12:00 UTC
944) 05/29/2016 15:32:41 UTC
945) 05/29/2016 16:39:02 UTC
946) 05/30/2016 13:00:50 UTC
947) 05/30/2016 15:00:24 UTC
948) 05/30/2016 16:04:14 UTC
949) 05/30/2016 17:57:26 UTC
950) 05/31/2016 12:16:52 UTC
951) 05/31/2016 14154:27 UTC
952) 05/31/2016 19:25:15 UTC
953) 05/31/2016 21:27:28 UTC

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954) 06/01/2016 13:45:27 UTC
955) 06/01/2016 16:13:22 UTC
956) 06/01/2016 23:32:35 UTC
957) 06/02/2016 13:17:40 UTC
958) 06/02/2016 15:44:55 UTC
959) 06/02/2016 19:50:09 UTC
960) 06/03/2016 00:26:33 UTC
961) 06/03/2016 13:07:05 UTC
962) 06/03/2016 15:32:53 UTC
963) 06/03/2016 19:58:21 UTC
964) 06/03/2016 23:48:30 UTC
965) 06/04/2016 13:11:07 UTC
966) 06/04/2016 15:07:39 UTC
967) 06/04/2016 16:26:56 UTC
968) 06/04/2016 17:49:10 UTC
969) 06/06/2016 13:38:08 UTC
970) 06/06/2016 15:28:37 UTC
971) 06/06/2016 22:05:28 UTC
972) 06/07/2016 00:33:08 UTC
973) 06/07/2016 13:32:16 UTC
974) 06/07/2016 15:45:17 UTC
975) 06/07/2016 22:37:46 UTC
976) 06/08/2016 00:27:45 UTC
977) 06/08/2016 13:36:39 UTC
978) 06/08/2016 17:04:20 UTC
979) 06/08/2016 23:53:48 UTC
980) 06/09/2016 12:51:48 UTC
981) 06/09/2016 15:35:48 UTC
982) 06/09/2016 18:33:36 UTC
983) 06/10/2016 00:40:27 UTC
984) 06/10/2016 13:37:18 UTC
985) 06/10/2016 15:33:47 UTC
986) 06/10/2016 22:23:29 UTC
987) 06/11/2016 00:36:15 UTC
988) 06/11/2016 12:29:22 UTC
989) 06/11/2016 14:23:00 UTC
990) 06/11/2016 16:14:59 UTC
991) 06/11/2016 17:38:51 UTC
992) 06/13/2016 13:38:26 UTC
993) 06/13/2016 16:41:28 UTC
994) 06/13/2016 20:14:37 UTC
995) 06/14/2016 00:02:01 UTC
996) 06/14/2016 13:58:27 UTC
997) 06/14/2016 16:42:40 UTC
998) 06/14/2016 21:31:42 UTC
999) 06/15/2016 00:24:54 UTC
1000) 06/16/2016 22:46:29 UTC

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1001) 06/17/2016 00:45:32 UTC
1002) 06/17/2016 13:22:35 UTC
1003) 06/17/2016 17:23:29 UTC
1004) 06/17/2016 22:46:10 UTC
1005) 06/18/2016 12:19:25 UTC
1006) 06/18/2016 13:36:45 UTC
1007) 06/18/2016 14:43:39 UTC
1008) 06/18/2016 16:42:06 UTC
1009) 06/20/2016 13:50:11 UTC
1010) 06/20/2016 16:25:02 UTC
1011) 06/20/2016 23:29:59 UTC
1012) 06/21/2016 00:46:32 UTC
1013) 06/21/2016 13:24:00 UTC
1014) 06/21/2016 14:54:20 UTC
1015) 06/21/2016 20:36:03 UTC
1016) 06/22/2016 00:40:10 UTC
1017) 06/22/2016 13:38:54 UTC
1018) 06/22/2016 15:35:15 UTC
1019) 06/22/2016 23:17:51 UTC
1020) 06/23/2016 00:36:30 UTC
1021) 06/23/2016 13:11:29 UTC
1022) 06/23/2016 15:18:22 UTC
1023) 06/23/2016 22:26:12 UTC
1024) 06/24/2016 00:24:20 UTC
1025) 06/24/2016 13:11:44 UTC
1026) 06/24/2016 15:13:23 UTC
1027) 06/24/2016 20:53:12 UTC
1028) 06/25/2016 00:32:56 UTC
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1035) 06/26/2016 15:26:15 UTC
1036) 06/26/2016 16:34:56 UTC
1037) 06/27/2016 12:12:47 UTC
1038) 06/27/2016 15:12:13 UTC
1039) 06/27/2016 20:43:45 UTC
1040) 06/28/2016 00:35:20 UTC
1041) 06/28/2016 13:42:31 UTC
1042) 06/28/2016 15:32:28 UTC
1043) 06/28/2016 21:16:58 UTC
1044) 06/29/2016 00:35:40 UTC
1045) 06/29/2016 13:03:09 UTC
1046) 06/29/2016 14:55:09 UTC
1047) 06/29/2016 22:08:47 UTC

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1048) 06/30/2016 00:47:52 UTC
1049) 06/30/2016 12:07:54 UTC
1050) 06/30/2016 15:07:48 UTC
1051) 06/30/2016 19:05:26 UTC
1052) 06/30/2016 22:02:43 UTC
1053) 07/01/2016 12:12:34 UTC
1054) 07/01/2016 14:54:00 UTC
1055) 07/01/2016 19:53:06 UTC
1056) 07/01/2016 23:08:39 UTC
1057) 07/02/2016 12:45:06 UTC
1058) 07/02/2016 14:40:52 UTC
1059) 07/02/2016 16:18:48 UTC
1060) 07/02/2016 17:53:37 UTC
1061) 07/04/2016 12:43:04 UTC
1062) 07/04/2016 13:59:01 UTC
1063) 07/04/2016 15:11:55 UTC
1064) 07/04/2016 16:17:08 UTC
1065) 07/05/2016 13:35:50 UTC
1066) 07/05/2016 15:33:07 UTC
1067) 07/05/2016 19:09:48 UTC
1068) 07/05/2016 21:33:19 UTC
1069) 07/06/2016 13:45:55 UTC
1070) 07/06/2016 15:49:54 UTC
1071) 07/06/2016 20:23:57 UTC'
1072) 07/07/2016 00:22:10 UTC
1073) 07/07/2016 13:44:43 UTC
1074) 07/07/2016 16:45:11 UTC
1075) 07/07/2016 22:24:11 UTC
1076) 07/07/2016 23:55:13 UTC
1077) 07/08/2016 12:08:54 UTC
1078) 07/08/2016 14:59:06 UTC
1079) 07/08/2016 22:17:56 UTC
1080) 07/09/2016 00:21:16 UTC
1081) 07/09/2016 12:57:44 UTC
1082) 07/09/2016 14:54:20 UTC
1083) 07/09/2016 16:01:07 UTC
1084) 07/09/2016 17:46:46 UTC
1085) 07/11/2016 13:39:35 UTC
1086) 07/11/2016 15:45:06 UTC
1087) 07/11/2016 20:36:20 UTC
1088) 07/12/2016 00:33:54 UTC
1089) 07/12/2016 18:09:03 UTC
1090) 07/12/2016 20:27:13 UTC
1091) 07/13/2016 00:33:23 UTC
1092) 07/13/2016 18:53:10 UTC
1093) 07/13/2016 22:40:48 UTC
1094) 07/14/2016 00:22:20 UTC

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1095) 07/14/2016 16:54:49 UTC
1096) 07/14/2016 22:44:46 UTC
1097) 07/15/2016 00:32:27 UTC
1098) 08/01/2016 19:38:29 UTC
1099) 08/01/2016 23:32:03 UTC
1100) 08/05/2016 13:37:19 UTC
1101) 08/05/2016 15:50:13 UTC
1102) 08/05/2016 23:21:19 UTC
1103) 08/06/2016 00:38:19 UTC
1104) 08/06/2016 13:05:36 UTC
1105) 08/06/2016 14:20:11 UTC
1106) 08/06/2016 15:52:29 UTC
1107) 08/06/2016 17:10:08 UTC
1108) 08/08/2016 13:37:55 UTC
1109) 08/08/2016 15:44:38 UTC
1110) 08/08/2016 20:28:18 UTC
1111) 08/09/2016 00:18:52 UTC
1112) 08/09/2016 13:42:24 UTC
1113) 08/09/2016 15:32:40 UTC
1114) 08/09/2016 23:05:17 UTC
1115) 08/10/2016 00:20:33 UTC
1116) 08/10/2016 13:30:11 UTC
1117) 08/10/2016 15:34:51 UTC
1118) 08/10/2016 22:15:29 UTC
1119) 08/11/2016 00:27:26 UTC
1120) 08/11/2016 13:53:05 UTC
1121) 08/11/2016 17:13:37 UTC
1122) 08/11/2016 20:39:23 UTC
1123) 08/12/2016 00:49:45 UTC
1124) 08/12/2016 13:25:26 UTC
1125) 08/12/2016 15:24:07 UTC
1126) 08/12/2016 21:53:52 UTC
1127) 08/13/2016 00:20:21 UTC
1128) 08/13/2016 12:06:56 UTC
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1130) 08/13/2016 15:16:02 UTC
1131) 08/13/2016 17:05:31 UTC
1132) 08/15/2016 13:13:44 UTC
1133) 08/15/2016 15:19:44 UTC
1134) 08/15/2016 20:37:32 UTC
1135) 08/15/2016 21:52:00 UTC
1136) 08/15/2016 21:52:01 UTC
1137) 08/16/2016 12:01:14 UTC
1138) 08/16/2016 14:58:13 UTC
1139) 08/16/2016 21:35:36 UTC
1140) 08/17/2016 00:21:34 UTC
1141) 08/17/2016 13:16:24 UTC

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1142) 08/17/2016 15:27:03 UTC
1143) 08/17/2016 20:32:34 UTC
1144) 08/17/2016 22:56:07 UTC
1145) 08/18/2016 13:00:53 UTC
1146) 08/18/2016 15:22:20 UTC
1147) 08/18/2016 20:24:54 UTC
1148) 08/19/2016 00:16:24 UTC
1149) 08/19/2016 13:39:01 UTC
1150) 08/19/2016 16:35:24 UTC
1151) 08/19/2016 20:41:26 UTC
1152) 08/19/2016 22:45:15 UTC
1153) 08/19/2016 22:45:16 UTC
1154) 08/20/2016 12:18:59 UTC
1155) 08/20/2016 14:30:37 UTC
1156) 08/20/2016 16:54:39 UTC
1157) 08/22/2016 13:29:34 UTC
1158) 08/22/2016 15:30:42 UTC
1159) 08/22/2016 20:13:23 UTC
1160) 08/23/2016 16:19:17 UTC
1161) 08/23/2016 20:21:53 UTC
1162) 08/23/2016 23:11:08 UTC
1163) 08/24/2016 13:55:29 UTC
1164) 08/24/2016 17:13:25 UTC
1165) 08/24/2016 20:05:12 UTC
1166) 08/24/2016 23:43:57 UTC
1167) 08/25/2016 13:12:27 UTC
1168) 08/25/2016 15:30:50 UTC
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1170) 08/26/2016 12:47:39 UTC
1171) 08/26/2016 15:24:58 UTC
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1173) 08/26/2016 22:05:04 UTC
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1178) 08/27/2016 17:29:43 UTC
1179) 08/29/2016 13:28:00 UTC
1180) 08/29/2016 15:25:49 UTC
1181) 08/29/2016 20:18:01 UTC
1182) 08/29/2016 22:14:27 UTC
1183) 08/29/2016 22:14:28 UTC
1184) 08/30/2016 13:23:00 UTC
1185) 08/30/2016 15:38:26 UTC
1186) 08/30/2016 21:51:18 UTC
1187) 08/31/2016 00:39:24 UTC
1188) 08/31/2016 12:19:12 UTC

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1189) 08/31/2016 15:27:50 UTC
1190) 08/31/2016 20:04:05 UTC
1191) 08/31/2016 22:51:45 UTC

31. Defendant made the immediately-aforementioned calls in an attempt to collect the
Debt directly from Plaintiffs.

32. On each of the immediately-aforementioned calls, Defendant made the calls using
an ATDS, a PTDS, or an APV,

33. During one or more of the aforementioned calls, including but not limited to the
calls occurring on February 12, 2015 and August 31, 2015, Plaintiff spoke With Defendant’s
employee or representative and requested that Defendant stop calling PlaintifP s Cellular
Telephone.

34. Plaintiff retained Leavengood, Dauval, Boyle & l\/leyer, P.A., d/b/a LeavenLaW
(hereinafter, “Undersigned Counsel”) for the purpose of pursuing this matter against Defendant,
and Plaintiff is obligated to pay their attorneys a reasonable fee for their services.

35. Plaintiff has not been able, due to personal commitments, as Well as the continued
and increasing stress associated With the continued barrage of Debt collection calls, to record the
specifics (as done above) of each and every call made to Plaintiff. Plaintiff asserts, however, that
the above-referenced calls are but a sub-set of the calls made in violation of the FCCPA and the
TCPA. Further, Defendant is in the best position to determine and ascertain the number and
methodology of calls made to Plaintiff.

36. As a direct result of Defendant’s actions, Plaintiff suffered emotional distress,
anxiety, inconvenience, frustration, annoyance, fear, confusion, and loss of sleep, believing that

his requests that Defendant stop the auto-dialed debt collection calls Were Wholly ineffective, and

that Plaintiffs simply must endure Defendant’s frequent and repeated debt collection attempts

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37. Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory
damages, actual damages, punitive damages, and an award of attomeys’ fees and costs to Plaintiff,
should Plaintiff prevail in this matter against Defendant.

38. United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00
or actual damages, whichever is greater, for each telephone call made using any automatic
telephone dialing system or an artificial or pre-recorded voice to Plaintiff` s Cellular Telephones in
violation of the TCPA or the regulations proscribed thereunder.

39. Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the
damages up to three times, or $1,500.00, for each telephone call made using any automatic
telephone dialing system or an artificial or prerecorded voice to Plaintiff’s Cellular Telephones in
willful or knowing violation of the TCPA or the regulations proscribed thereunder.

40. As of the date of this complaint, no final judgment regarding the Debt has been
obtained by, or transferred to, Defendant.

COUNT ONE:
UNLAWFUL DEBT COLLECTION PRACTICE -
VIOLATION OF FLORIDA STATU'I`ES, SECTION 559.72(7)

Plaintiffs re-allege paragraphs one (1) through forty (40) as if fully restated herein and
further state as follows:

41. Defendant is subject to, and violated the provisions of, Florida Statutes, Section
559.72(7) by collecting a consumer Debt from Plaintiff through means and with such frequency
as can reasonably be expected to abuse or harass Plaintiff.

42. Specifically, Defendant directly called Plaintiff’ s Cellular Telephone in an attempt

to collect the Debt using an ATDS, PTDS, or an APV, a minimum of 1,191 times during a two-

year period, often more than one call per day, without Plaintiff’ s prior express consent to auto-dial

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his Cellular Telephone. Such calls continued despite Plaintiff s oral request for Defendant to stop
calling his Cellular Telephone.

43. Defendant’s conduct served no purpose other than to annoy, force, coerce, harass,
frighten, embarrass, and/or humiliate Plaintiff into paying the Debt.

44. Defendant’s willful and flagrant violation of, inter alia, the Florida Consumer
Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and
harassment as is contemplated under Florida Statutes, Section 559.72(7).

45. As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages
as defined by Florida Statutes, Section 559.77.

COUNT TWO:
UNLAWFUL DEBT COLLECTION PRACTICE -
VIOLATION OF FLORIDA*S*TATUTES; SECTION 559.72(9)

Plaintiffs re-allege paragraphs one (1) through forty (40) as if fully restated herein and
further state as follows:

46. Defendant is subject to, and violated the provisions of, Florida Statutes, Section
5 59.72(9) by attempting to collect the Debt while asserting the existence of a legal right with the
knowledge that the right does not exist.

47. Defendant possessed actual knowledge of Plaintiff’s lack of prior express consent
and/or revocation of such consent to auto-dial Plaintiffs Cellular Telephone.

48. Despite possessing such knowledge, Defendant repeatedly attempted to collect the
Debt directly from Plaintiff by directly calling Plaintiffs Cellular Telephone at least 1,191 times.

49. Defendant knowingly and falsely asserted the right to collect the Debt directly from
Plaintiff using an ATDS, PTDS, or an APV. Defendant knew it did not possess such right.

5 0. As a direct and proximate result of Defendant’s actions, Plaintiffs sustained

damages as defined by Florida Statutes, Section 559.77.

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COUNT THREE:
TELEPHONE C()NSUMER PROTECTION ACT -
VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

Plaintiffs re-allege paragraphs one (1) through forty (40) as if fully restated herein and
further states as follows:

51. Defendant is subject to, and violated the provisions of, 47 United States Code,
Section 227(b)(1)(A) by using an automatic telephone dialing system, a predictive telephone
dialing system, or an artificial or pre-recorded voice to call a telephone number assigned to a
cellular telephone service without Plaintiff s prior express consent.

52. Defendant used an ATDS, PTDS, or an APV to call Plaintiffs Cellular Telephone
at least 1,191 times in an attempt to collect the Debt.

53. At no time herein did Defendant possess Plaintiff’s prior express consent to call
Plaintiffs Cellular Telephones using an ATDS, a PTDS, or an APV.

54. If Defendant contends it nonetheless possessed Plaintiffs’ prior express consent,
Plaintiffs revoked such consent the moment_and each subsequent time_-that Plaintiff orally
requested Defendant stop calling his Cellular Telephone.

55. Additionally, if Defendant contends it made the above-referenced phone calls for
“infonnational purposes only,” Defendant nevertheless lacked the required prior express written
consent necessary to make such informational calls to Plaintiff s Cellular Telephones using an
ATDS, a PTDS, or an APV.

56. The phone calls made by Defendant complained of herein are the result of repeated
willful and knowing violations of the TCPA.

57. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered:

a. The periodic loss of their Cellular Telephone service;

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b. Lost material costs associated with the use of peak time Cellular Telephone
minutes allotted under their cellular telephone service contracts; and

c. Stress, anxiety, loss of sleep, and deterioration of relationships, both
personal and professional, as a result of the repeated willful and knowing calls placed in
violation of the TCPA.

PRAYER F()R RELIEF
WHEREFORE, as a direct and proximate result of Defendant’s conduct, Plaintiff
respectfully requests against Defendant an entry of :

a. Judgment against Defendant declaring that Defendant violated the FCCPA
and the TCPA;

b. Judgment against Defendant for maximum statutory damages for violations
of the FCCPA;

c. Judgment against Defendant for statutory damages in the amount of
$500.00 for each of Defendant’s telephone calls that violated the TCPA;

d. Judgment against Defendant for treble damages in the amount of an
additional $1,000.00 for each telephone call that violated the TCPA for which Defendant
acted knowingly or willingly-or both;

e. Judgment providing injunctive relief, prohibiting Defendant from further

engaging in conduct that violates the FCCPA and the TCPA;

f. An award of attorneys’ fees and costs;

g. Actual damages in an amount to be determined at trial;

h. Punitive damages iii an amount to be determined at trial; and
i. Any other such relief the Court may deem proper.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues triable by ri ght.

SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

Plaintiff hereby gives notice to Defendant and demand that Defendant and its affiliates

safeguard all relevant evidence_paper, electronic documents, or data_pertaining to this litigation

as required by law.

Respectfully submitted,

LEAvENLAW

/s/ G. Tyler Bannon
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Jordan T. Isringhaus, Esq., FBN 091487
G. Tyler Bannon, Esq., FBN 0105718
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tbannon@leavenlaw.com
Attorneysfor Plaintiij

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VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF FLORIDA )

COUNTY OF PINELLAS j

Plaintiff GEORGE AINSWORTH, having first been duly sworn and upon oath, deposes and says as

follows:

1. I am a Plaintiff in this civil proceeding

2. l have read the above-entitled civil Complaint prepared by my attorneys and l believe that all of
the facts contained in it are true, to the best of my knowledge, information and belief formed after
reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by existing law or by a
good faith argument for the extension, modification, or reversal of existing law.

4. l believe that this civil Complaint is not interposed for any improper purpose, such as to harass
any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in
the cost of litigation to any Defendant(s), named in the Complaint.

5. l have filed this civil Complaint in good faith and solely for the purposes set forth in it.

6. Each and every exhibit which has been attached to this Complaint, if any, is a true and correct
copy of the original.

7. Except for clearly indicated redactions made by my attorneys where appropriate, l have not

altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits,

if any, may contain some of my own handwritten notations

GEORG WAINSWORTH
Subscribed and sworn to before me , 4
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Notary ublic

My Commission Expires: §7- 957 4 Proof of I.D.:MLMEHL

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